Case 8:03-cr-00255-JSM-TBM Document 188 Filed 10/03/06 Page 1 of 1 PageID 968




                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

ARMANDO SANTOS,

          Petitioner,

v.                                                       Case No. 8:06-cv-239-T-30TBM
                                                        (Crim. Case No.:8:03-cr-255-T-30TBM )
UNITED STATES OF AMERICA,

      Respondent.
___________________________________

                                         ORDER OF DISMISSAL

          THIS CAUSE comes before the Court sua sponte. A review of the file indicates that
the Petitioner has failed to respond to the Order to Show Cause (Dkt. #8) entered on August
23, 2006, in this matter. Because the Petitioner has failed to show good cause in writing or
respond to the Respondent’s assertions that the §2255 portion of his Petition is time-barred
and that the §2241 portion of his Petition lacks jurisdiction, the Court determines that this
case should be dismissed. It is therefore
          ORDERED AND ADJUDGED as follows:
          1.        This cause is dismissed.
          2.        All pending motions are denied as moot.
          3.        The Clerk is directed to close this case.
          DONE and ORDERED in Tampa, Florida on October 3, 2006.




Copies furnished to:
Counsel/Parties of Record
F:\Docs\2006\06-cv-239.dismissal 8.wpd
